                    UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


FREDERICK SAUNDERS,

                   Plaintiff,

v.                                             Case No: 6:23-cv-230-RBD-LHP

SIGNATURE FLIGHT SUPPORT,
LLC,

                   Defendant



                        REPORT AND RECOMMENDATION
TO THE UNITED STATES DISTRICT COURT:

      This cause came on for consideration without oral argument on the following

motions filed herein:

      MOTION: DEFENDANT’S MOTION ON AMOUNT OF FEES
              AND INCORPORATED MEMORANDUM OF LAW
              (Doc. No. 107)

      FILED:       October 28, 2024



      THEREON it is RECOMMENDED that the motion be GRANTED.
I.    BACKGROUND

      On September 12, 2024, United States District Judge Roy B. Dalton, Jr.,

granted Defendant Signature Flight Support LLC’s (“Signature’s) motions for

sanctions (Doc. Nos. 57, 61), dismissed Plaintiff Frederick Saunders’ (“Saunders”)

case with prejudice, and awarded to Signature its reasonable attorneys’ fees and

costs for: (1) filing two motions for sanctions, including authorized replies (Doc.

Nos. 57, 61, 80, 83); (2) Signature’s preparation for and attendance at a February 14,

2024 mediation, to include its share of the mediator’s fee; (3) Signature’s

preparation for and attendance at February 22, 2204 and March 13, 2024 hearings

before the undersigned; and (4) Signature’s continued review of Saunders’ text

messages between February 9, 2024 (the date compliance was originally ordered)

and a March 13, 2024 hearing on the matter. Doc. No. 105; see also Doc. No. 95, at

56. Judge Dalton further ordered that the fees should be paid jointly and severally

by both Saunders and his then-counsel, Attorney Michael G. Mann, and directed

the parties to meet and confer on the amount of fees and costs, with Signature to

file a motion by the deadline set forth in Local Rule 7.01(c) if agreement could not

be reached. Doc. No. 105, at 3-4.

      On October 28, 2024, Signature filed the above-styled motion, through which

it seeks a total of $31,062.50 in attorneys’ fees, and $500.00 in costs for its portion of

the mediator’s fee. Doc. No. 107. The motion recites that Saunders “contests all



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of Defendant’s fees and costs without context or information as to the basis for the

dispute.” Id., at 2. On the other hand, Signature has conferred in good faith with

Attorney Mann, who agrees that Signature is owed $23,532.50 in fees and the

$500.00 mediator’s fee, but disputes the remaining $7,530.00 in requested fees. Id.,

at 2, 7-8.   Signature details the extensive meet and confer efforts between its

counsel and Attorney Mann throughout the motion, noting Mann’s repeated

representations that he could not provide any specific objections or position on

behalf of Saunders. Id., at 3-7, and 9, n.3. Signature has also provided copies of

its detailed billing records, along with an explanation as to why the requested fees

and costs should awarded pursuant to Judge Dalton’s September 12, 2024 Order.

Id., at 10-23; see also Doc. Nos. 108-09.

      Attorney Mann did not file a response to Signature’s motion, and the time to

do so has expired. See Local Rule 3.01(c); see also Local Rule 7.01(d). Instead, on

November 13, 2024, Attorney Mann moved to withdraw as Saunders’ counsel.

Doc. No. 113. On November 18, 2024, the undersigned granted the motion and

permitted Attorney Mann to withdraw as counsel, but specifically retained

jurisdiction over Attorney Mann as to the outstanding issues regarding

quantification of sanctions to be awarded against Saunders and Attorney Mann.

Doc. No. 114. As of the date of this Report and Recommendation, Attorney Mann




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has not filed anything in response to Signature’s pending motion, nor sought an

extension of time to do so.

      On November 18, 2024, the undersigned also afforded Saunders, who is now

proceeding pro se, an additional 30 days to file his response to Signature’s motion

for fees and costs.     Doc. No. 115.     On December 6, 2024, Saunders filed his

response, in which he objects to the amount and reasonableness of Signature’s

requested fees in their entirety, “on the basis of inadequate legal representation” by

Attorney Mann, and argues that any willful disobedience and pattern of bad faith

was at the hands of Attorney Mann alone. Doc. No. 117.

      Signature’s motion is now fully briefed and ripe for disposition. It has been

referred to the undersigned, and upon consideration, the undersigned will

respectfully recommend that Signature’s motion (Doc. No. 107) be granted in full.

II.   ANALYSIS

      As previously noted, the Court has the authority to award fees and costs as a

sanction for failure to comply with Court orders, including discovery orders. See

Doc. Nos. 95, 105; see also Fed. R. Civ. P. 16(f)(2); Fed. R. Civ. P. 37(b)(2)(C); Velez v.

EKDK Enter. Inc., No. 6:19-cv-4-Orl-78GJK, 2019 WL 13274251, at *3 (M.D. Fla. Dec.

5, 2019), report and recommendation adopted, 2020 WL 13661700 (M.D. Fla. Jan. 16,

2020); Vaughn v. GEMCO2, LLC, No. 6:17-cv-1713-Orl-41KRS, 2018 WL 6620600, at

*4–7 (M.D. Fla. Oct. 31, 2018), report and recommendation adopted, 2019 WL 1765051



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(M.D. Fla. Apr. 22, 2019); Everything Divine Inc. v. O’Quinn, No. 6:12-cv-1722-Orl-

37DAB, 2014 WL 3593691, at *1–2 (M.D. Fla. July 18, 2014). And Judge Dalton

exercised that authority by awarding to Signature the reasonable fees and costs it

incurred related to two sanctions motions and related filings and hearings, a failed

mediation, and continued review of Saunders’ belated and deficient text message

production. Doc. No. 105; see also Doc. No. 95, at 56. Thus, the only question is

whether the amounts Signature has requested are reasonable and related to the

identified motions/filings, mediation, hearings, and text message review.

      Upon review of Signature’s motion and submitted billing records, the

undersigned finds the answer to that question is yes. The billing entries clearly

show that the attorney hours requested all relate to specifically identified filings

and hearings, the February 14 2024 mediation, and Signature’s review of Saunders’

text messages. See Doc. Nos. 108-09. The undersigned also finds the hours to be

reasonable and not excessive, particularly in light of the numerous issues that were

addressed in each motion and hearing, the voluminous amount of discovery in

dispute (and not timely produced), and as previously held, Attorney Mann’s and

Saunders’ repeated failure to comply with Court orders and bad faith conduct.

      Although Signature details in its motion Attorney Mann’s purported

objections to some of the requested fees, Attorney Mann never filed a response, and




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therefore the undersigned treats Signature’s motion – as it pertains to Attorney

Mann – unopposed. See Local Rule 3.01(c); Local Rule 7.01(d).

      With respect to Saunders, who did file a timely response, the undersigned

finds that Saunders has not lodged any objections to the number of hours, billing

rates, or total amount of fees Signature requests.     Doc. No. 117.     Rather, the

entirety of Saunders’ response is a challenge to the levy of any monetary sanction

against him; he argues that any and all sanctions should be levied solely against

Attorney Mann. Id. To put a finer point on it, Saunders does not argue that the

fees sought by Signature are unrelated to the sanctions motions, the related

hearings, the mediation, and/or Signature’s review of Saunders’ text messages. Id.

Nor does Saunders argue that the total amount of fees and costs is excessive.

Rather, Saunders limits his response to attacks on his former attorney, as well as

apparent objections to Signature’s entitlement to any monetary sanction from

Saunders directly.    Id.   However, the issue of entitlement has already been

resolved, see Doc. No. 105, and the award of fees and costs in this case will be made

jointly and severally against both Saunders and Attorney Mann.            How they

apportion payment is to be decided between themselves and is not a proper basis

for objection here. And to the extent Saunders believes he has received ineffective

legal representation, he may pursue other avenues outside of this litigation.




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      Thus, in the absence of any objection, and based on the undersigned’s own

review of the motion and billing records, the undersigned finds that the fees and

costs Signature seeks are reasonable and related to Signature’s two motions for

sanctions (Doc. Nos. 57, 61, 80, 83), its preparation for and attendance at the

February 14, 2024 mediation; its preparation for and attendance at the February 22,

2204 and March 13, 2024 hearings before the undersigned, and Signature’s

continued review of Saunders’ text messages between February 9, 2024 and March

13, 2024. See Am. C.L. Union of Georgia v. Barnes, 168 F.3d 423, 428 (11th Cir. 1999)

(“Those opposing fee applications have obligations, too. In order for courts to

carry out their duties in this area, ‘objections and proof from fee opponents’

concerning hours that should be excluded must be specific and ‘reasonably

precise.’” (quoting Norman v. Housing Auth. of the City of Montgomery, 836 F.2d 1292,

1301 (11th Cir. 1988))); Scelta v. Delicatessen Support Servs., Inc., 203 F. Supp. 2d 1328,

1333 (M.D. Fla. 2002) (citing Gray v. Lockheed Aeronautical Sys. Co., 125 F.3d 1387

(11th Cir. 1997)) (a fee opponent’s failure to explain with specificity the particular

hours he or she views as unnecessary or duplicative is generally fatal). See also

Local Rule 7.01(d) (requiring that a response to a supplemental motion on the

amount of fees must detail the basis for each objection, including the identification

by day and timekeeper of an unreasonable claim).




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      The undersigned further finds that the hourly rates sought for each

timekeeper (to which there has been no objection): $125.00 for a paralegal; $330.00

for Attorney Amanda A. Simpson (managing partner), and $315.00 for Attorney Lin

J. Wagner (of counsel), are reasonable and customary for attorneys with similar

levels of experience who practice in the Middle District of Florida. See Norman, 836

F.2d at 1299 (holding that a reasonable hourly rate for an attorney is “the prevailing

market rate in the relevant legal community for similar services by lawyers of

reasonably comparable skills, experience, and reputation”); Barnes, 168 F.3d at 437

(11th Cir. 1999) (quoting Cullens v. Ga. Dep’t of Transp., 29 F.3d 1489, 1494 (11th Cir.

1994)) (noting that the “relevant market” is “the place where the case is filed”);

Dixon v. Waste Pro of Fla., Inc., No. 8:22-cv-327-VMC-SPF, 2022 WL 18587780, at *3

(M.D. Fla. Dec. 16, 2022), report and recommendation adopted, No. 8:22-cv-327-VMC-

SPF, 2023 WL 1781516 (M.D. Fla. Feb. 6, 2023) (approving hourly rate of $425.00 for

partners with 17 and 19 years of experience in FLSA case); Cunningham v. Sw.

Airlines, 548 F. Supp. 3d 1169, 1172 (M.D. Fla. 2021) (finding hourly rates of $345.00

and $245.00 reasonable for partners and associates in a Title VII civil rights action);

Perez v. Margaritas V&P, Inc., No. 6:22-cv-1133-RBD-EJK, 2023 WL 2696182, at *5

(M.D. Fla. Mar. 14, 2023), report and recommendation adopted, 2023 WL 2691680 (M.D.

Fla. Mar. 29, 2023) (granting $125 hourly rate in FLSA matter for paralegal with

seven years of experience); Sanchez v. M&F, Inc., LLC, No. 6:17-cv-1752-Orl-22LRH,



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2020 WL 4671144, at *5 (M.D. Fla. Aug. 12, 2020) (awarding $150.00 per hour for a

paralegal in an Orlando Division FLSA action).

        As such, the undersigned will recommend an award to Signature of the full

amount of fees and costs requested. Doc. No. 107. See Velez, 2019 WL 13274251,

at *3; Vaughn, 2018 WL 6620600, at *4–7; Everything Divine Inc., 2014 WL 3593691, at

*1–2.

III.    RECOMMENDATION

        For these reasons, the undersigned RESPECTFULLY RECOMMENDS that

        1.    Defendant’s   Motion    on    Amount    of   Fees   and   Incorporated

Memorandum of Law (Doc. No. 107) be GRANTED;

        2.    Fees and costs in the total amount of $31,562.50 be awarded in favor of

Defendant Signature Flight Support, LLC and against Plaintiff Frederick Saunders

and Attorney Michael G. Mann, jointly and severally; and

        3.    The Court enter judgment accordingly, terminate any other pending

motions, and close the file. See Doc. No. 115.

                               NOTICE TO PARTIES

         A party has fourteen days from the date the Report and Recommendation is

served to serve and file written objections to the Report and Recommendation’s

factual findings and legal conclusions. Failure to serve written objections waives

that party’s right to challenge on appeal any unobjected-to factual finding or legal



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conclusion the district judge adopts from the Report and Recommendation. 11th

Cir. R. 3-1.

       Recommended in Orlando, Florida on February 7, 2025.




Copies furnished to:

Presiding District Judge
Counsel of Record
Unrepresented Party
Courtroom Deputy
Attorney Michael G. Mann




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